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06
                              UNITED STATES DISTRICT COURT
07                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
08
     UNITED STATES OF AMERICA,            )
09                                        )
           Plaintiff,                     )
10                                        )             Case No. CR09-362-RSM
           v.                             )
11                                        )
     JESUS MEDINA-CONTRERAS,              )             DETENTION ORDER
12                                        )
           Defendant.                     )
13   ____________________________________ )

14 Offense charged:

15          COUNT 1:       CONSPIRACY TO DISTRIBUTE CONTROLLED
                           SUBSTANCES, in violation of 21 U.S.C. §§ 841(a)(1),
16                         841(b)(1)(A), 841(b)(1)(B) and 846

17          Date of Detention Hearing:     November 4, 2009

18          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

19 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

20 the following:

21          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          (1)     Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that defendant

23 is a flight risk and a danger to the community based on the nature of the pending charges.

24 Application of the presumption is appropriate in this case.

25          (2)     Defendant is a citizen of Mexico.

26          (3)     An immigration detainer has been placed on defendant by the United States

     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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01 Immigration and Customs Enforcement.

02          (4)     Defendant has stipulated to detention, but reserves the right to contest his

03 continued detention if there is a change in circumstances.

04          (5)     There are no conditions or combination of conditions other than detention that

05 will reasonably assure the appearance of defendant as required or ensure the safety of the

06 community.

07          IT IS THEREFORE ORDERED:

08          (1)     Defendant shall be detained pending trial and committed to the custody of the

09 Attorney General for confinement in a correctional facility separate, to the extent practicable,

10 from persons awaiting or serving sentences or being held in custody pending appeal;

11          (2)     Defendant shall be afforded reasonable opportunity for private consultation with

12 counsel;

13          (3)     On order of a court of the United States or on request of an attorney for the

14 government, the person in charge of the corrections facility in which defendant is confined shall

15 deliver the defendant to a United States Marshal for the purpose of an appearance in connection

16 with a court proceeding; and

17          (4)     The Clerk shall direct copies of this Order to counsel for the United States, to

18 counsel for the defendant, to the United States Marshal, and to the United States Pretrial Services

19 Officer.

20          DATED this 4th day of November, 2009.

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22
                                                           A
                                                           JAMES P. DONOHUE
                                                           United States Magistrate Judge
23

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     DETENTION ORDER                                                                           15.13
     18 U.S.C. § 3142(i)                                                                    Rev. 1/91
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